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8
9      Attorneys for Plaintiff ARYA TOUFANIAN
10
                                UNITED STATES DISTRICT COURT
11
                   CENTRAL DISTRICT OF CALIFORNIA—WESTERN DIVISION
12
13      ARYA TOUFANIAN, an individual,                Case No.:
14
              Plaintiff,                              PLAINTIFF ARYA TOUFANIAN’S
15                                                    COMPLAINT
16            v.
                                                      DEMAND FOR JURY TRIAL
17      KYLE OREFFICE, an individual; GIVE
18      BACK MEDIA, LLC, a Georgia limited
        liability company; and DOES 1-10,
19
20            Defendants.
21
22
23           Plaintiff Arya Toufanian alleges:
24                                 JURISDICTION AND VENUE
25           1.      This Court has original jurisdiction over this case under 28 U.S.C. § 1332.
26     Plaintiff Toufanian is a citizen of the State of California. Defendant Oreffice is a citizen
27     of the State of Georgia. Defendant Give Back Media, LLC is registered to conduct
28
                                                -1-
                                       PLAINTIFF’S COMPLAINT
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1
       business under and is domiciled in the State of Georgia with its principal place of
2
       business therein. The amount in controversy exceeds $75,000, exclusive of interest and
3
       costs.
4
                2.   Personal jurisdiction over Defendants in this Court is proper because
5
       Defendants knowingly and intentionally directed the defamatory publications about
6
       Plaintiff alleged below to persons within the State of California, including to Plaintiff’s
7
       friends, acquaintances, customers, and/or work colleagues. Plaintiff further alleges, on
8
       information and belief, that Defendants knew, or had reason to know, that their
9
       defamatory publications would or were likely to reach and be read by residents of
10
       California.
11
                3.   Venue in this Court is proper under 28 U.S.C. § 1391.
12
                                               PARTIES
13
                4.   Plaintiff Arya Toufanian is an individual permanently residing and
14
       working in Los Angeles County, State of California. On information and belief,
15
       Plaintiff avers that he and Defendants are business competitors whose advertising and
16
       marketing efforts target potential customers of their similar services within the same
17
       trade channels.
18
                5.   Plaintiff alleges on information and belief that defendant Kyle Oreffice is
19
       an individual residing permanently in the State of Georgia, and that Oreffice is and was
20
       during all times relevant to this Complaint an owner, manager, and executive officer of
21
       defendant Give Back Media, LLC (“GBM”). On information and belief, Plaintiff
22
       alleges that, at all times relevant to this Complaint, Oreffice committed the acts
23
       complained of herein as an owner, manager and executive officer of GBM, and for the
24
       benefit of GBM.
25
                6.   Defendant GBM is, and at all times mentioned herein was, a limited
26
       liability company formed and domiciled under the laws of the State of Georgia, with its
27
       principal place of business in Roswell, Georgia.
28
                                                -2-
                                       PLAINTIFF’S COMPLAINT
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1
             7.     This Complaint refers collectively to Oreffice and GBM as “Defendants”.
2
             8.     Plaintiff alleges on information and belief that defendants DOES 1 through
3
       10 are not citizens of the State of California. The true names and capacities of the
4
       defendants DOES 1 through 10, inclusive, whether individual, plural, corporate,
5
       partnership, associate or otherwise, are not known to Plaintiff, who therefore sues said
6
       defendants by such fictitious names. Plaintiff will seek leave of court to amend this
7
       Complaint to show the true names and capacities of DOES 1 through 10, inclusive,
8
       when the same have been ascertained.
9
             9.     Plaintiff is also informed and believes and thereon alleges that DOES 1 to
10
       10 were the agents, principals, employees, partners, and/or alter egos of Defendants, at
11
       all times herein relevant, and that they are therefore liable for the acts and omissions of
12
       Defendants and/or liable directly to Plaintiff for Plaintiff’s injuries because of DOES 1
13
       to 10’s direct tortious conduct complained of in this Complaint.
14
                                    GENERAL ALLEGATIONS
15
             10.    Plaintiff is engaged in the business of providing stock trading information
16
       and other data and methods to individual and business customers. Plaintiff operates
17
       several stock information businesses, including through the Instagram page
18
       @sensastocks. On information and belief, throughout 2018 and 2019, Defendants have
19
       communicated directly with individuals and businesses through one or more of
20
       Defendants’ websites published on the Internet and through social media to call Plaintiff
21
       a “scammer” and “The Douche of Wall Street”. These individuals and businesses are
22
       customers of Plaintiff and/or are or were interested in paying for Plaintiff’s services.
23
                   Kyle Oreffice’s Defamatory Publications about Toufanian on
24                                  Quantumstocktrading.com
25           11.    On information and belief, Defendants are engaged throughout the United
26     States in the business of providing information relating to the purchase and sale of
27     equities. Plaintiff alleges on information and belief that Defendants are the owners and
28
                                                -3-
                                       PLAINTIFF’S COMPLAINT
     Case 2:19-cv-07934-DMG-SK Document 1 Filed 09/12/19 Page 4 of 27 Page ID #:4



1
       operators of a Website located at www.quantumstocktrading.com
2
       (“Quantumstocktrading.com”), and that Defendants conduct business throughout the
3
       United States under the name Quantumstocktrading.com. On information and belief,
4
       Defendants also conduct business throughout the U.S. through publications on the
5
       Internet and social media under the moniker “Quantum Stocks”. Plaintiff alleges on
6
       information and belief that defendant Oreffice operates Quantumstocktrading.com and
7
       publishes on that site from his residence and/or principal place of business in the State
8
       of Georgia.
9
             12.     Quantumstocktrading.com’s homepage proclaims: “Welcome to Quantum
10
       Stocks. Our team has successfully demonstrated their trading abilities by helping our
11
       current members make over $100,000 in gains this month alone!!”
12
             13.     Quantumstocktrading.com also includes a published page titled “The
13
       Douche of Wall Street: How Arya Toufanian Scams Innocent Investors” and can be
14
       found through a link on the site’s homepage with the heading “Don’t Get Scammed!”
15
       and located online at https://www.quantumstocktrading.com/aryascam/. Attached
16
       hereto as Exhibit 1 is a true and correct copy of the page published on
17
       Quantumstocktrading.com. Exhibit 1 is incorporated herein by this reference and made
18
       a part of this Complaint. Among other accusations Defendants have stated on
19
       Quantumstocktrading.com, Defendants published the following about Plaintiff:
20
             •       “The owner of I’m Shmacked, Arya Toufanian, is certainly proficient at
21
       taking money from people over the internet through elaborate, hyped-up schemes”;
22
             •       “Furthermore, he [Plaintiff] has stolen content from free Discord servers
23
       and posted it in his paid Discord. The real icing on the cake, however, is the fact that he
24
       claims these are onetime charges – which numerous, numerous members have verified
25
       to be entirely false”;
26
             •       “Not only did Arya scam his ‘students’ by charging them thousands to set
27
       up a Shopify store (something anyone can do for free in less than 5 minutes), he went a
28
                                                -4-
                                       PLAINTIFF’S COMPLAINT
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1
       step further by creating a pyramid scheme of scams in which his students (unbeknownst
2
       to them) were effectively scamming even more people!”
3
             •      “Thinking like a real scammer, Arya decided to enter into the stock advice
4
       space with his @aryastocks program (formerly @stocks), in which he uses the influence
5
       of his I’m Shmacked account to pedal [sic] his ‘exclusive’ stock advice. The story of
6
       these scammy trading servers is long and illustrious. We owe it to the public to expose
7
       these elaborate schemes such as this, and have created our program Quantum Stocks
8
       with the goal of providing real, time-relevant, valuable trading information to our
9
       members. Arya is currently charging brand-new, unsuspecting investors up to $500
10
       (previously up to $1000+) for access to a Discord server with virtually zero activity,
11
       with promises of stock scanners and helpful admins that are virtually non-existent.
12
       Each package, regardless of price, gets you access to the same chat room… yep, you
13
       read that right: the $500 package is IDENTICAL to the $60 option. Furthermore, he
14
       has stolen content from free Discord servers and posted it in his paid Discord. The real
15
       icing on the cake, however, is the fact that he claims these are one-time charges – which
16
       numerous, numerous members have verified to be entirely false, proving that Arya is
17
       unresponsive to even the most basic of skepticisms.”
18
             14.    On information and belief, Plaintiff avers that Defendants published the
19
       above statements on or about July 10, 2019.
20
             15.    As of the filing of this Complaint, Plaintiff is informed and believes, and
21
       alleges thereon, that the above publications remain live on the Internet and accessible
22
       and viewable by persons throughout the world.
23
             16.    Plaintiff alleges on information and belief that defendant Oreffice authored
24
       the above publications and caused them to be published on Quantumstocktrading.com
25
       with the knowledge and intent that they would be seen by persons and businesses
26
       located throughout the United States, including within California. Plaintiff alleges on
27
       information and belief that at the time defendant Oreffice caused the above publications
28
                                               -5-
                                      PLAINTIFF’S COMPLAINT
     Case 2:19-cv-07934-DMG-SK Document 1 Filed 09/12/19 Page 6 of 27 Page ID #:6



1
       to be made on his site he was aware or had had reason to know that Plaintiff was a
2
       resident of California and/or was conducting business in California.
3
             17.    At all times relevant to this Complaint, defendant Oreffice’s entire website
4
       has had a nationwide presence in the United States and has been accessible to persons
5
       and business located throughout California. Plaintiff alleges on information and belief
6
       that before the filing of this Complaint, certain of Plaintiff’s friends, acquaintances,
7
       customers and likely customers, and/or work colleagues have been exposed to and/or
8
       have read “The Douche of Wall Street: How Arya Toufanian Scams Innocent Investors”
9
       online, on Instagram, and/or on other social media platforms.
10
             18.    Plaintiff further alleges on information and belief, that those of his friends,
11
       acquaintances, customers and likely customers, and/or work colleagues who have been
12
       exposed to and/or read “The Douche of Wall Street: How Arya Toufanian Scams
13
       Innocent Investors” online, on Instagram, and/or on other social media platforms were
14
       aware or believe that Plaintiff was in the business of providing information about stock
15
       trading very similar to, and competitive with, those offered by Defendants.
16
           Kyle Oreffice’s Defamatory Statements about Toufanian on Facebook and
17                                        Instagram
18           19.    Plaintiff further alleges on information and belief that on or around July
19     13, 2019, Defendants published a post on Facebook that reads “How Arya Toufanian,
20     Owner of the College Brand @ImShmacked has scammed $500k+ from Innocent
21     College Students. Full Story Here: https://www.quantumstocktrading.com/aryascam/.”
22     Attached hereto as Exhibit 2 is a true and correct copy of the publication as it appeared
23     on Defendants’ Facebook profile. Exhibit 2 is incorporated herein by this reference and
24     made a part of this Complaint.
25           20.    Plaintiff further alleges on information and belief that following the above
26     alleged publications on Quantumstocktrading.com, Oreffice also used one or more
27     Instagram accounts created by him to pay for one or more “sponsored” advertisements
28
                                                 -6-
                                        PLAINTIFF’S COMPLAINT
     Case 2:19-cv-07934-DMG-SK Document 1 Filed 09/12/19 Page 7 of 27 Page ID #:7



1
       that he authored and caused to be published on Instagram that linked to his article on
2
       Quantumstocktrading.com titled “The Douche of Wall Street: How Arya Toufanian
3
       Scams Innocent Investors.” One such post states, “How Arya Toufanian, Owner of the
4
       College Brand @ImShmacked, has scammed $500k+ from Innocent College Students.
5
       Full Story Here: https://www.quantumstocktrading.com/aryascam/.” Plaintiff alleges
6
       on information and belief that Defendants and Instagram allowed the link to be
7
       published and made available to Instagram users after Defendants’ above alleged
8
       publications were made on Quantumstocktrading.com. Plaintiff also alleges on
9
       information and belief that one or more of Oreffice’s Instagram advertisement(s) were
10
       published at https://www.instagram.com/aryascam/ and used the Instagram handle
11
       @aryascam.
12
             21.    As of the filing of this Complaint, Plaintiff is informed and believes, and
13
       alleges thereon, that the link to the defamatory article remains active on Instagram and
14
       accessible by its users and the public in general through Internet searches.
15
             22.    Plaintiff alleges on information and belief that Oreffice authored the above
16
       Instagram advertisement(s) and the link, and he caused them to be published on
17
       Instagram with the knowledge and intent that they would be seen by persons and
18
       businesses located throughout the United States, including within California. Plaintiff
19
       alleges on information and belief that at the time Oreffice caused the Instagram
20
       publication to be made he was aware or had had reason to know that Plaintiff was a
21
       resident of California and/or was conducting business in California.
22
             23.    At all times relevant to this Complaint, Oreffice’s publication on Instagram
23
       has had a nationwide presence in the United States and has been accessible to persons
24
       and business located throughout California. Before the filing of this Complaint,
25
       Plaintiff’s friends, acquaintances, customers and potential customers, and/or work
26
       colleagues read defendant Oreffice’s above alleged publications on Instagram.
27
28
                                                -7-
                                       PLAINTIFF’S COMPLAINT
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1
                                    FIRST CLAIM FOR RELIEF
2
                                 (Libel Per Se against all Defendants)
3
              24.   Plaintiff repeats and re-alleges the allegations set forth above in Paragraphs
4
       1 through 23 inclusive as if set forth fully in this claim.
5
              25.   Plaintiff is a private citizen. He is the owner and operator of a private
6
       business that is neither well-known nor has it achieved any appreciable degree of fame
7
       or recognition.
8
              26.   Plaintiff alleges on information and belief that Defendants made the above
9
       alleged statements to persons other than Plaintiff, through Defendants’ publication of
10
       them on the Internet and through Instagram’s website and software application.
11
              27.   The third parties who saw or read the defamatory publications reasonably
12
       understood that they were about Plaintiff.
13
              28.   The third parties who saw or read the defamatory publications reasonably
14
       understood them to mean that Plaintiff was a fraud, Plaintiff was committing scams to
15
       wrongfully take other persons’ money, and that Plaintiff has “stolen” money from other
16
       persons.
17
              29.   Defendants’ statements are defamatory per se because they charge Plaintiff
18
       with committing a crime, they directly injure or tend to directly injure Plaintiff
19
       concerning his profession, trade or business by imputing to him disqualification in those
20
       respects that his occupation peculiarly requires, and they tend directly to injure Plaintiff
21
       by imputing to his business ill repute, unethical behavior, and immorality that have a
22
       natural and obvious tendency to diminish the reputation and profitability of Plaintiff’s
23
       business.
24
              30.   Defendants failed to use reasonable care under the circumstances to
25
       determine the truth or falsity of their publications. Their publications lack evidentiary
26
       support.
27
28
                                                 -8-
                                        PLAINTIFF’S COMPLAINT
     Case 2:19-cv-07934-DMG-SK Document 1 Filed 09/12/19 Page 9 of 27 Page ID #:9



1
              31.    As a proximate result of Defendants’ defamatory publications, Plaintiff has
2
       been injured because he has suffered unjust embarrassment, shame, mortification,
3
       and/or hurt feelings, the loss of his reputation, the loss of business and income in excess
4
       of $75,000. Plaintiff alleges on information and belief that Defendants’ statements have
5
       had the effect of discouraging businesses from dealing with Plaintiff, by lowering his
6
       reputation and deterring other persons and businesses from dealing with him.
7
              32.    Defendants’ publications were a direct and substantial factor in causing
8
       Plaintiff’s harm.
9
              33.    Defendants made the above alleged statements knowingly and
10
       intentionally, with malice, and without any evidence to support them or recklessly
11
       without first conducting a reasonable and sufficient investigation into whether their
12
       publications were true or false. Defendants published their statements with a conscious
13
       disregard of Plaintiff’s rights, and with the intent to vex, injure or annoy Plaintiff. As
14
       such, Plaintiff is entitled to an award of exemplary or punitive damages against
15
       Defendants.
16
              34.    Defendants’ statements have irreparably harmed and, if not enjoined, will
17
       continue to irreparably harm Plaintiff and his business reputation.
18
              35.    By reason of Defendants’ acts, Plaintiff’s remedy at law is not adequate to
19
       compensate for the injuries inflicted by Defendants. Accordingly, Plaintiff is entitled to
20
       entry of a temporary restraining order and preliminary and permanent injunctive relief
21
       against Defendants.
22
                                   SECOND CLAIM FOR RELIEF
23
                               (Libel Per Quod against all Defendants)
24
             36.     Plaintiff repeats and re-alleges the allegations set forth above in Paragraphs
25
       1 through 23 inclusive as if set forth fully in this claim.
26
27
28
                                                 -9-
                                        PLAINTIFF’S COMPLAINT
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1
           37.    Plaintiff is a private citizen. He is the owner and operator of a private
2
     business that is neither well-known nor has it achieved any appreciable degree of fame
3
     or recognition.
4
           38.    Plaintiff alleges on information and belief that Defendants made the above
5
     alleged statements to persons other than Plaintiff, through Defendants’ publication of
6
     them on the Internet and through Instagram’s website and software application.
7
           39.    The third parties who saw or read the defamatory publications reasonably
8
     understood that they were about Plaintiff.
9
           40.    The third parties who saw or read the defamatory publications reasonably
10
     understood them to mean that Plaintiff was a fraud, Plaintiff was committing scams to
11
     wrongfully take other persons’ money, and that Plaintiff has “stolen” money from other
12
     persons.
13
           41.    Defendants’ statements are defamatory because they charge Plaintiff with
14
     committing a crime, they directly injure or tend to directly injure Plaintiff concerning
15
     his profession, trade or business by imputing to him disqualification in those respects
16
     that his occupation peculiarly requires, and they tend directly to injure Plaintiff by
17
     imputing to his business ill repute, unethical behavior, and immorality that have a
18
     natural and obvious tendency to lessen diminish the reputation and profitability of
19
     Plaintiff’s business.
20
           42.    In light of the facts and circumstances known to the reader(s) of the
21
     publications made by Defendants, such publications exposed Plaintiff to unjust
22
     embarrassment, hatred, contempt, ridicule or obloquy, because they challenge his
23
     business ethics, accuse him of immorality and crimes, and falsely claim he is associated
24
     or affiliated with illegal or unlawful conduct. Defendants’ statements have also caused
25
     Plaintiff to be shunned or avoided, and such statements have a tendency to injure him in
26
     his occupation and injure business reputation.
27
28
                                              - 10 -
                                     PLAINTIFF’S COMPLAINT
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1
             43.   Defendants failed to use reasonable care under the circumstances to
2
     determine the truth or falsity of their publications. Their publications lack evidentiary
3
     support.
4
             44.   As a proximate result of Defendants’ defamatory publications, Plaintiff has
5
     been injured because he has suffered unjust embarrassment, shame, mortification,
6
     and/or hurt feelings, the loss of his reputation, the loss of business and income in excess
7
     of $75,000. Plaintiff alleges on information and belief that Defendants’ statements have
8
     had the effect of discouraging businesses from dealing with Plaintiff, by lowering his
9
     reputation and deterring other persons and businesses from dealing with him.
10
             45.   Defendants’ publications were a substantial factor in causing Plaintiff
11
     harm.
12
             46.   Defendants made the above alleged statements knowingly and
13
     intentionally, with malice, and without any evidence to support them or recklessly
14
     without first conducting a reasonable and sufficient investigation into whether their
15
     publications were true or false. Defendants published their statements with a conscious
16
     disregard of Plaintiff’s rights, and with the intent to vex, injure or annoy Plaintiff. As
17
     such, Plaintiff is entitled to an award of exemplary or punitive damages against
18
     Defendants.
19
             47.   Defendants’ statements have irreparably harmed Plaintiff and, if not
20
     enjoined, will continue to irreparably harm Plaintiff and his business reputation.
21
             48.   By reason of Defendants’ acts, Plaintiff’s remedy at law is not adequate to
22
     compensate for the injuries inflicted by Defendants. Accordingly, Plaintiff is entitled to
23
     entry of a temporary restraining order and preliminary and permanent injunctive relief
24
     against Defendants.
25
                              THIRD CLAIM FOR RELIEF
26       (Unfair Competition in Violation of Cal. Bus. & Prof. Code § 17200 et seq.
27                               against all Defendants)

28
                                              - 11 -
                                     PLAINTIFF’S COMPLAINT
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1
           49.    Plaintiff repeats and re-alleges the allegations set forth above in Paragraphs
2
     1 through 48 inclusive as if set forth fully in this claim.
3
           50.    As set forth above, Plaintiff is informed and believes, and thereupon avers,
4
     that Defendants intentionally and wrongfully published defamatory statements about
5
     Plaintiff. Defendants’ wrongful publications constitute unlawful and unfair business
6
     acts or practices within the definition of California Business & Professions Code
7
     section 17200 et seq.
8
           51.    Defendants have intended their conduct to give themselves an unfair
9
     advantage over Plaintiff and to destroy his business and tarnish his business reputation.
10
     Defendants’ conduct has constituted and resulted in their engaging in unlawful,
11
     predatory competition, that has adversely affected, and continues to adversely affect,
12
     Plaintiff’s reputation and goodwill.
13
           52.    Defendants made their publications intentionally and maliciously, each of
14
     which constituted wrongful acts in violation of California Business and Professions
15
     Code §17200, et seq. Defendants made the above alleged publications with the
16
     knowledge and intent that they would be read and seen by members of the public who
17
     considered, or were at the time of the publications considering, whether to pay Plaintiff
18
     compensation for his offerings, which offerings were in competition with Defendants’
19
     offerings, to the same or similar existing and potential customers.
20
           53.    Plaintiff alleges on information and belief that Defendants’ defamatory
21
     publications have caused Plaintiff to suffer unjust embarrassment, shame, mortification,
22
     and/or hurt feelings, the loss of Plaintiff’s reputation, and the loss of business and
23
     income to Plaintiff in excess of $75,000. Plaintiff alleges on information and belief that
24
     Defendants’ statements have had the effect of discouraging existing and potential
25
     customers from dealing with Plaintiff by lowering his reputation and deterring such
26
     customers and potential customers from dealing with him.
27
28
                                               - 12 -
                                      PLAINTIFF’S COMPLAINT
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1
              54.   Plaintiff is also informed and believes, and thereupon avers, that
2
     Defendants have been unjustly enriched, to the corresponding detriment of Plaintiff, as
3
     a result of their wrongful and intentional conduct. Under Bus. & Prof. Code §17203,
4
     Plaintiff, is therefore entitled to restitutionary relief equal to the improper gains
5
     Defendants achieved at Plaintiff’s expense.
6
              55.   Defendants’ defamatory publications have directly and proximately caused
7
     Plaintiff’s injuries alleged in this Complaint.
8
              56.   Plaintiff is further informed and believes, and thereupon avers, that
9
     Defendants’ wrongful acts are ongoing and certain to continue. Defendants have not
10
     removed the above alleged defamatory publications from the Internet or social media
11
     and those publications continue to be viewable to and viewed by the public. Defendants
12
     wrongful acts will, unless restrained, cause irreparable damage to Plaintiff.
13
              57.   For such current and future wrongful conduct by Defendants, which is
14
     certain to inflict serious harm to Plaintiff, there exists no adequate remedy at law.
15
     Pursuant to Bus. & Prof. Code §17203, Plaintiff is therefore further entitled to
16
     preliminary and permanent injunctive relief against Defendants to prohibit such certain
17
     harm. In the alternative, Plaintiff would be forced to maintain an unreasonable and
18
     uneconomical multiplicity of judicial proceedings to protect its interests.
19
                                      PRAYER FOR RELIEF
20
              Plaintiff Arya Toufanian prays for judgment on all of his claims against
21
     Defendants, as follows:
22
              1.    For compensatory damages of no less than $1,000,000, in an amount to be
23
     proven at trial;
24
              2.    For punitive and/or exemplary damages in an amount to be determined at
25
     trial;
26
              3.    For prejudgment interest accrued on all sums of damages;
27
28
                                               - 13 -
                                      PLAINTIFF’S COMPLAINT
Case 2:19-cv-07934-DMG-SK Document 1 Filed 09/12/19 Page 14 of 27 Page ID #:14



1
           4.       For a permanent injunction enjoining and restraining Defendants and their
2
     respective agents, servants, employees, successors and assigns, and all other persons
3
     acting in concert with, in conspiracy with, or affiliated with Defendants, from making
4
     false and/or defamatory statements regarding Plaintiff;
5
           5.       For costs of suit incurred;
6
           6.       For all of Plaintiff’s reasonable attorneys’ fees incurred in prevailing on its
7
     claims; and,
8
           7.       For such other and further relief as this case warrants and the Court deems
9
     just and proper, including costs for corrective advertising or publications to members of
10
     the public through the Internet and on social media platforms.
11
12
13
                                   DEMAND FOR JURY TRIAL
           Plaintiff hereby demands a jury trial on all claims and issues raised in the parties’
14
     pleadings.
15
16
     Dated: September 12, 2019                        WEINBERG GONSER LLP
17
18
                                                  By: /s/ Shanen R. Prout
                                                     Lee M. Weinberg
19                                                   Shanen R. Prout
20                                                   Bryan B. Bitzer
                                                     Attorneys for Plaintiff
21                                                   ARYA TOUFANIAN
22
23
24
25
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27
28
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                     “Essentially, the night proved to be nothing much more than a standard

                     college party. Videos online make a viewer expect an entirely new

                     experience with the I’m Shmacked tour, but those at the party likely left

                     disappointed. James Prusha, administrative lieutenant for the Kent

                     Police Department, said prior to the event, he heard representatives from

                     other cities say the event is not as big of a deal as the promoters of the

                     video make it seem, and it appears Prusha was right.”

                         – Jimmy Miller of KentWired.com




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